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                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  VICTORIA DIVISION

IN RE:                                      §
                                            §
SCOTT VINCENT VAN DYKE                      §       CASE NO. 21-60052
                                            §       CHAPTER 7
                                            §
         DEBTOR                             §       JUDGE CHRISTOPHER M. LOPEZ


   TRUSTEE’S JOINT MOTON TO APPROVE COMPROMISE AND SETTLEMENT
                  PURSUANT TO FED. R. BANKR. P. 9019(a)

THIS MOTION SEEKS AN ORDER THAT MAY ADVERSELY AFFECT YOU. IF YOU
OPPOSE THE MOTION, YOU SHOULD IMMEDIATELY CONTACT THE MOVING
PARTY TO RESOLVE THE DISPUTE. IF YOU AND THE MOVING PARTY CANNOT
AGREE, YOU MUST FILE A RESPONSE AND SEND A COPY TO THE MOVING
PARTY. YOU MUST FILE AND SERVE YOUR RESPONSE WITHIN TWENTY-ONE
(21) DAYS OF THE DATE THIS WAS SERVED ON YOU. YOUR RESPONSE MUST
STATE WHY THE MOTION SHOULD NOT BE GRANTED. IF YOU DO NOT FILE A
TIMELY RESPONSE, THE RELIEF MAY BE GRANTED WITHOUT FURTHER
NOTICE TO YOU. IF YOU OPPOSE THE MOTION AND HAVE NOT REACHED AN
AGREEMENT, YOU MUST ATTEND THE HEARING. UNLESS THE PARTIES AGREE
OTHERWISE, THE COURT MAY CONSIDER EVIDENCE AT THE HEARING AND
MAY DECIDE THE MOTION AT THE HEARING.

REPRESENTED PARTIES SHOULD ACT THROUGH THEIR ATTORNEY.

         Debtor Scott Vincent Van Dyke (“Van Dyke”) and the Chapter 7 Trustee, Catherine Stone

Curtis, (“Trustee”) (collectively the “Parties”) file this Joint Motion to Approve Compromise and

Settlement Pursuant to Federal Rule of Bankruptcy Procedure 9019(a) to resolve the Trustee’s

objection to the Debtor’s homestead exemption (“Joint Motion”), and, in support thereof,

respectfully show as follows:




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                                    JURISDICTION AND VENUE

         1.        This Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 1334 and 157.

This is a “core” proceeding pursuant to 28 U.S.C. § 157(b)(2)(A), (L), (N), & (O). Venue is

properly in this Court pursuant to 28 U.S.C. §§ 1408 and 1409.

         2.        The statutory predicate for the relief requested herein is Section 105(a) of Title 11

of the United States Code (the “Bankruptcy Code”) and Federal Rules of Bankruptcy Procedure

5009(a) and 9019(a) (the “Bankruptcy Rules”).

                                            BACKGROUND

         3.        On May 25, 2021 (the “Petition Date”), Scott Vincent Van Dyke (the “Debtor”)

filed a voluntary petition for relief under Chapter 11 of the Bankruptcy Code with a Subchapter V

election. On or about the same date, Melissa Haselden was appointed Subchapter V. Trustee.

         4.        The meeting of creditors was concluded on June 22, 2021. Debtor filed his

Subchapter V Plan on December 11, 2021. Several creditors of the estate filed objections to

confirmation on December 13, 2021.

         5.        On January 11, 2022, Debtor filed his Motion to Convert Case to Chapter 7 for the

reasons set forth therein and on the Debtor’s belief that it would not be possible for him to

reorganize under the Plan.

         6.        On January 31, 2022, the Court entered its Order Converting Case to Chapter 7

[Dkt. No. 129] and on February 11, 2022, Catherin Stone Curtis was appointed Successor Trustee

[Dkt. No. 138].

         7.        The Debtor filed amended schedules and statements claiming an interest in various

property, including real property and two (2) vehicles:




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[Docket No. 162].

The Debtor claimed the real property and vehicles as exempt on Schedule C:




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[Docket No. 162].

         8.        The Debtor listed an interest in eleven (11) business entities (the “Entity

Interests”) on the same amended schedules, and did not claim the Entity Interests as exempt:



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         [Docket No. 162].

         9.        The Trustee filed her Objection to the Debtor’s Claim of Exemptions (the

“Objection”) on June 22, 2022 [Docket No. 186], objecting, inter alia, to the exemptions claimed

in the real property and vehicles. Other parties filed joinders to the Objection in separate pleadings.

[See Docket Nos. 187, 188].

         10.       On September 21, 2022, the Parties agreed to the following settlement terms

regarding the Objection (hereinafter the “Settlement”):




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                        i. Van Dyke agrees to pay $30,000, of which $22,000 shall be paid upon entry
                           of an order approving this Motion and $8,000 to be paid within sixty (60)
                           days of entry of the order.

                        ii. The Trustee by this Settlement seeks to abate her objection to the homestead
                            exemption for the sixty (60) day period referenced in subparagraph (a),
                            supra (the “Sixty-Day Period” or the “Abatement Period”), and, once the
                            Debtor complies with the terms herein and files the required declaration, the
                            Trustee shall withdraw her objection to the exemption of the homestead
                            claim.

                       iii. It is understood that the Court has discretion to determine whether it will
                            hear and determine the other parties’ joinder to the Trustee’s objection to
                            exemptions during the Abatement Period.

                       iv. Van Dyke shall file with the Court within ten (10) days of filing this Motion
                           and prior to a hearing set on the Motion, if any, a sworn declaration
                           explaining how the valuations of his equity interests listed in his schedules
                           were determined and a statement of the current operational and financial
                           status of the companies. The Debtor may, at his discretion, amend his
                           schedules to reflect the valuations contained in his declaration.

                        v. The parties recognize that the Trustee has authority to resolve only her
                           Objection, and is agreeing to resolve only her Objection. , The Trustee
                           represents that she does not have authority to resolve the joinder objections
                           of Eva S. Engelhart, Chapter 7 Trustee of the Estate of Anglo-Dutch
                           Petroleum, Inc., and Builders West, Inc. (the “Joining Parties”). The Trustee
                           takes no position on the impact of this settlement on those Joining Parties
                           joinder to the Trustee’s objection to the Debtor’s exemptions. Any impact
                           of this settlement on the Joining Parties’ joinders to the Trustee’s objection
                           to the Debtor’s exemptions would have to be determined by the Court.
                           Aside from the foregoing, this settlement shall not impact any other party’s
                           rights whether in the main case or the adversary proceedings. If assets come
                           into the estate to be administered based on the other parties’ actions, then
                           the Trustee may administer those assets in accordance with the Bankruptcy
                           Code.

                       vi. The Settlement does not include any Chapter 5 causes of action. The Estate
                           is not releasing any rights or causes of action by this Settlement.

                       vii. The Trustee’s withdrawal of its objection to exemption will apply to the
                            Debtor’s interests as listed in his Schedules. Moreover, the Debtor
                            recognizes the following equity interests and vehicle as non-exempt, and
                            the settlement payment serves to resolve the Trustee’s claims with respect
                            to the Objection: (i) a 100% membership interest in Trepador Energy, LLC,
                            (ii) a 100% membership interest in Potomac Assets, LLC, (iii) a 100%



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                            membership interest in Burgoyne Investments, LLC, (iv) a 75%
                            membership interest in Bashton Energy LLC, (v) a 100% membership
                            interest in Texas Petroleum Operations LLC, and (vi) a 2016 Chevrolet
                            Silverado pickup truck.

                       viii. Upon the Debtor’s payment and filing of the sworn declarations outlined in
                             the Settlement above, the Trustee will file a Notice of Abandonment of the
                             2016 Chevrolet Silverado and the equity interests of:


                                       a.   Trepador Energy, LLC
                                       b.   Potomac Assets, LLC
                                       c.   Burgoyne Investments, LLC
                                       d.   Bashton Energy, LLC
                                       e.   Texas Petroleum Operations, LLC

                        ix. For the avoidance of doubt, any amounts distributed to equity interests of
                            the Debtor in this case in the Anglo-Dutch Energy, LLC case filed at case
                            no. 21-60036, or Anglo-Dutch Petroleum International, Inc. filed at case no.
                            19-30797, or in adversary proceedings therefrom, will be distributed to the
                            Trustee to administer in this case in accordance with the Bankruptcy Code.

                                            RELIEF REQUESTED

A.       Approve Compromise and Settlement Agreement

         11.       Pursuant to Section 105(a) of the Bankruptcy Code and Rule 9019(a) of the

Bankruptcy Rules, this Court may approve the compromise reached by the Parties. “One of the

goals of Congress in fashioning the Bankruptcy Code was to encourage parties in a distress

situation to work out a deal among themselves.” In re Mirant Corp., 334 B.R. 800, 811 (Bankr.

N.D. Tex. 2005). “Compromises are favored in bankruptcy” because they minimize litigation

costs and further the parties’ interest in expediting the administration of a bankruptcy case. Myers

v. Martin (In re Martin), 91 F.3d 389, 393 (3d Cir. 1996) (quoting 9 Collier on Bankruptcy ¶

9019.03[1] (15th ed. Rev. 1993)).

         12.       Bankruptcy Rule 9019 governs the procedural requirements to be followed before

a settlement may be approved. Bankruptcy Rule 9019(a) provides in relevant part that: “[o]n




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motion by the trustee and after notice and a hearing, the court may approve a compromise and

settlement.” Fed. R. Bankr. P. 9019(a). Bankruptcy Rule 9019(a) empowers a bankruptcy court

to approve compromises and settlements if they are “fair and equitable and in the best interest of

the estate.” Official Comm. of Unsecured Creditors v. Cajun Elec. Power Coop., Inc. (In re Cajun

Elec. Power Coop., Inc.), 119 F.3d 349, 355 (5th Cir. 1997); Conn. Gen. Life Ins. Co v. United

Cos. Fin. Corp. (In re Foster Mortg. Corp.), 68 F.3d 914, 917 (5th Cir. 1995). Moreover, Section

105(a) of the Bankruptcy Code provides in pertinent part that “[t]he court may issue any order,

process, or judgment that is necessary or appropriate to carry out the provisions of this title.” 11

U.S.C. § 105(a).

         13.       Approval of a proposed compromise is left to the sound discretion of the reviewing

court. See, e.g., In re Hibbard Brown & Co., Inc., 217 B.R. 41 (Bankr. S.D.N.Y. 1998) (noting

that courts should exercise their discretion “in light of the general public policy favoring

settlements”). The burden of establishing the fairness of a compromise rests on the proponent(s)

of the compromise; however, a trustee is not required to present a full mini-trial or evidentiary

hearing to adjudicate the issues being settled. Rather, when determining whether to approve a

compromise, the Court “is not to decide the numerous questions of law and fact raised” by the

compromise but is “to canvass the issues and see whether the settlement falls below the lowest

point in the range of reasonableness.” ARS Brook, LLC v. Jalbert (In re ServiSense.com, Inc.),

382 F.3d 68, 72 (1st Cir. 2004); Vaughn v. Drexel Burnham Lambert Group, Inc. (In re Drexel

Burnham Lambert Group, Inc.), 134 B.R. 499, 505 (Bankr. S.D.N.Y. 1991).

         14.       In determining whether a proposed compromise is fair and equitable, a court should

consider the following factors:

         (a)       The probability of ultimate success should the claim be litigated;

         (b)       An educated estimate of: (i) the complexity, expense, and likely duration of such


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                   litigation; (ii) possible difficulties of collecting on any judgment which might be
                   obtained; and (iii) all other factors relevant to a full and fair assessment of the
                   wisdom of the proposed compromise; and

         (c)       The comparison of the terms of the settlement and compromise with the likely
                   rewards of litigation, including: (i) uncertainties of fact and law which impact the
                   probability of success in the litigation; and (ii) delay and inconvenience which
                   impact the complexity or duration of the litigation.

See Protective Comm. for Indep. Stockholders of TMT Trailer Ferry, Inc. v. Anderson (In re TMT

Trailer Ferry, Inc.), 390 U.S. 414, 424-25 (1968); Rivercity v. Herpel (In re Jackson Brewing Co.),

624 F.2d 599, 602-03 (5th Cir. 1980) (decided under the Bankruptcy Act).

         15.       The Trustee alleged in her Objection that the Debtor used stolen and/or unlawfully

obtained funds to purchase his homestead, which should serve as grounds to deny the homestead

exemption claim under state law. The Debtor has argued in his response that the Trustee’s

objection is not timely filed and is barred. The Debtor has further alleged that the purchase was

with lawfully borrowed funds – not stolen or unlawfully obtained funds. Resolution of the issues

would require findings regarding the Debtor’s state of mind, which are inherently difficult to

prove. The Trustee bears the burden of proof, and the burden on denying a homestead exemption

is high. This makes it difficult if not impossible to determine what the likelihood of success on the

merits would be. In addition, litigating the issue to conclusion, including appeal, would involve

considerable cost and expense to the Estate that may abrogate the ultimate benefit to creditors. If

the Debtor’s arguments were to prevail, the Trustee would recover nothing. The Trustee strongly

disagrees with this assertion; however, the Trustee has considered it in her business judgment.

Resolving the Estate’s claims allows other parties to move forward (in the Court’s discretion) and

the Estate to benefit from the outcome of Engelhart’s and Builder’s West’s objections if those

objections are not barred or unsuccessful. The Debtor will likely appeal any order sustaining any

objection to the homestead exemption, making the fees and expenses and time involved even more



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substantial. The Trustee has considered the complexity, expense, and likely duration of such

litigation as being substantial considering the lengthy and tortious history between the Debtor and

other parties relevant to the determination of the claims.

         16.       Moreover, regarding the Trustee’s objection to the exemptions of personal property

items, the Trustee is confident that she would prevail and does not believe that expense or

complexity would be factors hindering recovery in that instance. The Trustee has conducted a

home inspection and had an informal appraisal of the art and jewelry in the Debtor’s possession

as of the date of conversion. The Trustee considered the likely value of those assets at auction,

professional expenses and costs of sale, issues related to the litigation of whether those assets are

property of the estate, and claims of the probate estate of the Debtor’s deceased mother as to that,

and other, property when reaching this settlement.

         17.       In addition, regarding the Entity Interests, which have not been claimed as exempt

by the Debtor, the Trustee and her professionals have undertaken an analysis of the assets of these

entities and the Trustee does not believe, based on her investigation and business judgment, that

the equity interests even come close to the valuation on the Debtor’s schedules. The Trustee has

considered the costs associated with continuing to leave those assets in the estate, including

potential tax implications. Nonetheless, the Trustee is requiring the Debtor as a part of this

Settlement to declare under penalty of perjury the valuation methods and amounts.

         18.       In sum, the Parties submit that the determination, allowance, and terms of the

proposed settlement satisfies the requirements established by the Supreme Court in TMT Trailer

Ferry, as expanded upon by Jackson Brewing.




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         19.       Given the costs and uncertainty of litigation, the Parties agree that consensual

resolution on the terms of the Agreement is the most efficient and beneficial resolution for the

Parties and the Court.

         20.       In light of these considerations, the proposed compromise falls well within the

range of reasonableness and meets the standards of TMT Trailer Ferry, Jackson Brewing, and

other applicable law. The ability of both the Plaintiff and the Defendant to prove up their relative

positions will require a fact-intensive and expensive trial with no certainty for either party as to

the ultimate outcome. The parties’ agreement buys peace and stops the accrual of litigation

expense under terms and conditions acceptable to both parties. The foregoing particularly weighs

in favor of the approval of the compromise and settlement in light of the practical reality that

“compromises are . . . often times desirable and wise methods of bringing to a close proceeding

[that are] otherwise lengthy, complicated and costly.” Jackson Brewing, 624 F.2d at 602 (quoting

Case v. Los Angeles Lumber Prods. Co., 308 U.S. 106, 130 (1939)).

                                              PRAYER

         WHEREFORE, Debtor Scott Vincent Van Dyke and Trustee Catherine Stone Curtis

respectfully request that (1) the Court enter an order finding that the Settlement Agreement

satisfies the applicable standards for such compromises and is approved in all respects; (2) the

Court direct the clerk to close the Bankruptcy Case; and (3) grant such other and further relief as

the Court may deem just and proper.

         Dated: September 26, 2022                     Respectfully submitted,

                                                       By:/s/Catherine Stone Curtis
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                                           Chapter 7 Trustee


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                                CERTIFICATE OF SERVICE
       I certify that on the 26rd day of September, a true and correct copy of the foregoing was
served on the Debtor, counsel for the Debtor, the Trustee and the US Trustee via regular US Mail,
unless otherwise served by the CM-ECF system. The following were served by the CM-ECF
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                                             /s/ Lynn Hamilton Butler
                                             Lynn Hamilton Butler




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